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UNITED STATES BANKRUPTCY COURT

DISTRICT OF DELAWARE sR IL RMIT: 45
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In re. : CHAPTER 11
TK HOLDINGS, INC., et al. : Jointly Administered Objection Response by

D’Arcy Phelan-Morrell,
Claimant Number: P-0053894

Response November 8, 2023

Debtors. :

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|, D’Arcy Phelan-Morrell, Claimant/Creditor Number P-0053894, am responding to Docket 5136 for Case
17-11375-BLS by agreeing to the Second Joint Motion of Eric D, Green, in his capacity as Trustee of the
Takata Airbag Tort Compensation Trust Fund, and Joseph J. Farnan, Jr., in his capacity as Trustee of the
Reorganized TK Holdings Trust, for entry of an order directing bifurcation of my Claims.

| object to Joseph J. Farnan, Jr., in his capacity as Trustee of the Reorganized TK Holdongs Trust to the
Class 6 Portions of my Claim as Unliquidated and/or insufficient information claim-non-substantive.

As Claimant of Claim# 53894, | feel the provided Joint motion seeking to bifurcate components of my
claim is fair, as | have learned that Automobile Manufacturers and Dealerships are dually responsible for
the installation and use of the defective Takata airbags. However, | object to Joseph J. Farnan Jr., as
Trustee of the Reorganized TK Holdings Trust, to object to Class 6 portions of certain claims
(unliquidated, contingent and/or insufficient information claims-non-substantive), because | have
already submitted substantial documents to support all of my TK Holdings Claims.

My circumstances as a dual Claimant in this Case 17-11376-BLS are unique. | have filed two Takata
Airbag inflators claims for two different vehicles | have owned in two different time frames. The first
being Claim# 52791, and the second being Claim# 53894. Each vehicle contained Takata airbags.

This Claim# 53894 is representing the second, most recent vehicle | owned. This claim was filed because
the airbag inflator in my 2013 Mercedes Benz 350 GLK was found to be defective by the NHTSA and was

recalled.

Once the airbag in my MB GLK was recalled, | was traumatized because | previously suffered life-
threatening injuries from a faulty Takata airbag in my prior owned 1998 BMW 323 iC in 1999. The airbag
in my BMW caused me a traumatic brain injury and severe facial and other serious injuries. Regardless
of my life-threatening injuries suffered from the BMW’s faulty airbag, the BMW airbag has not yet been
recalled.

Due to my horrifying prior faulty BMW airbag experience, | was terrified | might suffer further life-
threatening injuries from the recalled airbag in the 2013 Mercedes | currently own. In my opinion these
two claims are definitely linked because both vehicles had defective Takata airbags.

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| do not feel either claim should be disallowed, because | have already submitted substantial documents
proving my injuries and current risky brain lesion caused by the BMWs faulty airbag inflator which
caused my well documented severe traumatic brain injury and facial injuries in the prior accident, |
suffered in 1999.

| realize my claims situation is unique, and given the complexity of this Case, | was not sure how to file
this claim separately, because both of my Claims are linked because they both involve defective Takata
airbags.

The first vehicle’s airbag technically caused me reversible death twice, and the 2013 Mercedes Benz 350
GLK | own now and have filed this Claim for, contained a Recalled defective Takata airbag that could
have potentially harmed or killed me as well, which has caused me more recent mental anguish, which is
considered a Personal Injury.

| filed Personal Injury litigation with this claim # 53894 because while | was never involved in an
automobile accident in my Mercedes Benz 350 GLK, it was recalled which caused me severe fear of
driving the vehicle, because | suffered life-threatening injuries from the 1998 BMW 323 iC in 1999,
which had not yet been recalled, but was identified to have a faulty airbag inflator. | filed my claim for
my Mercedes Benz 350 GLK when it was recalled, due to having a defective Takata airbag, which | feared
might possibly cause additional traumatic life-threatening injuries or death.

| did not submit an amount for my Mercedes Benz 350GLK Claim #P-0053894, because | had/have not
yet been physically injured, but | have suffered mental anguish. | do not know how to place a value on
mental anguish | suffered. | had already submitted substantial documents supporting my Claim for the
BMW injuries | suffered as Claim# 4537 and 52791, each valued at $14,600,411.40. It was my
understanding in this Case, once documents were submitted, they did not need to be re-submitted. This
case has been extremely difficult to understand the legal processes without an attorney to represent me
and explain the confusing legal jargon.

Due to the severity of my injuries | suffered, which will affect me for the rest of my life, my mental
anguish continues from the horrific prior life-threatening experience, which still affects me for this Claim
# 53894, for my Mercedes Benz 350 GLK. Asa result, | object to this claim being disallowed.

| filed claim# 53894 because | was prior injured by a faulty Takata airbag, which caused me additional
mental anguish when | learned my most current vehicle, the Mercedes Benz 350 GLK Takata airbag
inflator had been recalled. | naturally feared additional injuries. | assumed that each claim was filed
together under my name, and all previously submitted documents from Claim# 4537 and #52791 would
apply to claim # 53894.

In Exhibit A, of Docket #5136-2, page 3, the Column identified as “Reason for Modification of Claim 6
Claim Amount” incorrectly states |, as the Claimant, reported a total loss to my vehicle. | did note ever
claim a complete loss of my Mercedes Benz 350 GLK vehicle for this Claim. My vehicle provided for in
this claim was for my 2013 Mercedes Benz 350 GLK, VIN #: WDOCGGSHB9DF990091. | did however lose
Economic Value of this vehicle because the passenger-side airbag was recalled. | do not know the Value
of the Economic Loss this fact lends to the current actual value of my car, but | am aware that any recall

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to a vehicle body, causes a decrease in the economic value of the vehicle. This is the reason | stated the
Claim’s value as “Unknown”.

In reference to my Claim# 53894, | also stated, “I suffered injuries from another Vehicle with a Takata
Airbag Injury, and now fear additional injuries”. Due to the fact that the airbag in my Mercedes Benz
350 GLK had been recalled, | suffered Mental and emotional anguish/distress associated with the Takata
airbag injuries | suffered in 1999, which continue to cause me fright, terror, apprehension, nervousness
anxiety, worry, mortification, feelings of lost dignity, grief and the remembrance of going into physical
shock from the Traumatic Brain and Facial injuries | suffered from the late and over-aggressive
deployment of the faulty Takata airbag in my prior owned 1998 BMW 323iC vehicle | drove when | prior
incurred my injuries in 1999.

Fearful of suffering any future airbag injuries, which could possibly cause me more severe brain/facial
injuries or possibly death if the current recalled defective Takata airbag in my 2013 Mercedes Benz 350
GLK should over-aggressively deploy and cause the rupture of the current brain lesion | suffered as a
result of the over-aggressive deployment of the faulty Takata airbag in my 1998 BMW. Needless to say,
| was now terrified to drive my Mercedes Benz 350 GLK.

This is how | learned about the Takata Airbag recall: On January 18, 2018, | received an email from the
U.S. Department of Transportation (DOT) National Highway Traffic Safety Administration (NHTSA),
stating, “Your vehicle MAY be involved in a safety recall and MAY create a safety risk for you or your
passengers. If left | repaired, a potential safety defect could lead to injury or even death. Safety defects
must be repaired by a dealership at no cost to you”. The NHTSA Recall stated: “ID Number: 18V043 and
Manufacturer: Mercedes-Benz USA, LLC, Subject: Passenger Frontal Air Bag Inflator May Explode”. My
Make: Mercedes-Benz, Model: GLK 350, Model Year: 2010, 2013” were identified.

On January 18, 2018, | immediately called my Mercedes Benz Service Advisor, Mark Escobar, and left a
message on his voicemail regarding the aforementioned email | had received and requested a response.
| did not receive a response, so | called again on January 24, 2018. Again, | left a detailed voicemail
stating | needed to setup a replacement for my GLK’s airbag. Since he did not respond again, | called the
Mercedes Benz dealership and spoke to Shannon and explained my concern of possibly experiencing
another traumatic head injury from the GLK’s recalled airbag and how | needed mine to be replaced
ASAP. Shannon assured me she would hand-deliver my message to Mark and ask him to call me. | was
called back by Mark, who told me to call Mercedes Benz Customer Service at Roadside Assistance
Service. When | called the number Mark gave me, | explained my airbag recall concerns and fear of any
potential injuries but was told the airbag replacement parts were not yet available. | asked to be
notified by phone and email as soon as the airbag replacement parts became available. They estimated
the date | should receive notification by postal mail to be June 31, 2018. | did not drive my vehicle from
that point on, unless there was no other means for my transportation, because | feared for my life.

February 2018, | received an Important Safety Recall Interim Notice by mail. In summary the letter |
received stated, “A safety defect exists in your vehicle. Remedy parts are not yet available for your
vehicle. We will contact you again once parts are available”. Again, this letter stated the concern, “A
passenger-side inflator explosion during deployment could result in sharp metal fragments striking the
front passenger or other occupants, possibly causing serious injuries or death”. This letter increased my
fears, so my car stayed in my garage, as the thought of driving it, made me fear for my life.

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On April 9, 2018, frustrated, | called my local Mercedes Benz dealership and spoke to a female
representative regarding the airbag recall and she stated the airbag replacement parts were still
unavailable, but to keep checking back.

Both May 17" and May 19, 2018, angered and upset, | called my local Mercedes Benz dealership again
and was told the airbag replacement parts were still unavailable. | was told once a received a letter
from MBUSA stating the parts are available, then | should call the Dealership to schedule the airbag
replacement as soon as possible.

June 1, 2018, angered, | spoke to Kathy at MBUSA, who stated the airbag replacement parts were still
pending. Kathy stated there was no ETA date for the parts. | suggested that MBUSA consider removing
the dangerous recalled parts until the airbag replacement parts were available, but she said that could
not be considered. | continued to not drive my vehicle unless there were no other transportation
options available.

On January 11,2019, the airbag replacement parts were still unavailable, so | decided to file a complaint
with the NHSTA due to my overwhelming concern about my vehicle safety. The NHTSA ID Number | was
given for my complaint was: 11176189.

On November 25, 2019, | again contacted the DOT Auto Safety Hotline and filled out a Report regarding
my Vehicle Safety Defect and the unavailability of the replacement parts necessary to repair the defect.
The reference Number for that report is: 11282311. In that report | clearly identified that | had not
been involved in a crash, but | feared my defective airbag could possibly kill me if it were to deploy for
any reason.

On November 29, 2019, | spoke to the Mercedes Benz Service department representative, Anthony, who
stated, “The airbag replacement parts are still Pending and unavailable at this time, and | should still be
notified as soon as the replacement parts are available”. Again, | was furious and in disbelief that it
would take so long for the replacement parts to be replaced!

Finally, on April 8, 2020, | was notified that the airbag replacement parts for my 350 GLK were available
for replacement that day, so | brought my GLK to the dealership to have the airbag parts replaced.
There were no charges for the replacement of the parts, but | did incur nearly 2 years' worth of anguish
as mentioned above. The loss of the vehicle was not technically a total loss, but a large chunk of time
and lack of use was clearly evident. My vehicle was just over seven years old by the time the airbag
replacement parts were replaced, and the mileage noted by the dealership on my Mercedes Benz 350
GLK on the airbag replacement date was only 26,658 miles.

Fortunately, | did not incur any accidents in the GLK vehicle; therefore, there were no medical costs
except for my anti-depressant medication to treat my mental anguish symptoms related to my
continued depression and fears, etc.

| was not employed at the time my GLK’s airbag was recalled: however, | have no source of income due
to the fact that my prior airbag traumatic brain injury prevented me from gaining employment as a
Registered Nurse, which eventually caused me to resign my Registered Nursing license, because | was
unable to find employment as a Nurse with a history of a traumatic brain injury. The traumatic brain
injury and emotional distress and mental anguish | suffered all had a contributing impact on my regular
daily activities of daily life. My inability to work has led to financial stress. | have problems with my

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memory, sleeping, and depression due to physical and emotional injuries. | also suffered driving anxiety
and feared any type of vehicle safety issues. | could not drive my vehicle without tremendous fear of a
potential accident or problem which could cause the airbag to potentially deploy. | typically would have
to await my husband's arrival home from work in the evenings to run errands in his truck, such as
weekly grocery shopping, visits to see my grandchildren, or any other extracurricular activity | might
have normally chosen prior to being notified of the airbag defect in my Mercedes Benz 350 GLK. These
were all huge inconvenience.

While the recalled airbag for my current GLK vehicle is now replaced, | must admit that | cannot help but
still be nervous about driving my car and the airbag safely working if it is ever needed in an accident. |
strongly feel Takata, and the vehicle automakers, should be held responsible for the vehicle safety of the
parts they provide the vehicle owners with for the drivers and passengers safety. | have estimated the
emotional and mental anguish | have suffered from this claim alone to be at least $1.5 million dollars.

if the Joint Motion and RTKH Trust Objectors care to review my prior removed TK Holdings Bankruptcy
Case 17-11375 (BLS), for my Claim #4537 and #52791, which each contain all of the related documents
to support those claims and this claim# 53894.

| merely hope and expect the Court to fairly rule a fair value as to the cumulative amount of my losses
for this claim individually, or cumulatively for what the two faulty Takata airbags have cost me
collectively, since | was unable to place a value on my losses solely on this Claim’s initial value for my
recalled Mercedes-Benz 350 GLK’s recalled airbag inflator and parts.

The emotional and mental anguish | suffered from the recall of my 2013 Mercedes Benz 350 GLK were
directly related to the injuries | prior suffered as a result of the life-threatening traumatic injuries |
experienced before from my injuries in 1999, from the Takata airbag injuries | suffered and nearly died
from in the 1998 BMW 323 iC, | prior owned. Neither claim should be disallowed.

For the value of each of the two vehicles, | have already submitted the auto vehicle purchase documents
related to both the BMW 323 iC and the Mercedes Benz 350 GLK. | have also already submitted my
values for the traumatic brain/facial injuries and medical costs | suffered in 1999 to this Court, as well as
the values of medical costs that those damages would cost me to repair currently, so | am unsure what
further documents | can provide. My documents provided substantiate my claims and should never be
disallowed or valued as zero.

| am making copies of this response to the following four recipients before the response deadline of
November 22, 2023:

1) Office of the Clerk of the U.S. Bankruptcy Court for the District of Delaware
824 North Market Street, 3°? Floor
Wilmington, Delaware 19801

2) Brown Rudnick LLP
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